           ~~~~&'--
    Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 1 of 16 PageID #: 2423


'                             INSTRUCTION NO.           A         Plaintiffs Alternative A

            Plaintiff Sarah Mayers claims to have been injured as a result of Defendant Lincoln

     County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

     failure may be considered the official policy of Defendant Lincoln County.

            Your verdict will be for Plaintiff Sarah Mayers and against Defendant Lincoln County

     only if you find that:

            First, the Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

     responsible for supervising Scott Edwards as Drug Court Tracker; and

            Second, Defendant Lincoln County's supervision of Scott Edwards as Drug Court

     Tracker was inadequate; and

             Third, the need for more supervision or different supervision was so obvious, and the

     inadequacy of the supervision so likely to create a risk of violations of constitutional rights, that

     one or more policymakers of defendant Lincoln County can reasonably be said to have been

     deliberately indifferent to the need for such supervision, and

            Fourth, the failure of defendant Lincoln County to provide proper supervision was a

     cause of damage to that plaintiff.

            If any of the above elements have not been proved by the greater weight of the evidence,

     then your verdict must be for Defendant Lincoln County, Missouri.

             The definition of "deliberate indifference" to the rights of others is the conscious or

     reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

     requires more than negligence or ordinary lack of due care.

     Tendered by Plaintiff
     Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
     Instructions Civil (6th ed.) §165.27-Failure to Train.

     In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 2 of 16 PageID #: 2424



 violation of constitutional rights", the language "so likely to create a risk of the violations of
 constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
 Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
 have known even if all of its employees in supervisory roles did not know of the risk and are thus
 not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
 may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
 396, 109 S.Ct. 1197 (O'Connor, J., concurring and dissenting) (emphasizing that "actual or
 constructive notice" is enough).

 In element fourth Plaintiffs have substituted "the cause" for the O'Malley language "a cause"
 based on O'Malley et al., Fed. Jury Prac & Instructions Civil (6th ed.) §165.27-Failure to
 Train.

 As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
 Cir. 1992):

        To establish liability under City of Canton, "the plaintiff must prove ... that the training
        program at issue is inadequate to the tasks that officers must perform; that the inadequacy
        is the result of the city's deliberate indifference; and that the inadequacy is 'closely
        related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
        (6th Cir.1989) (citing City of Canton).

 Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
 what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
 constructive notice and requiring personnel from the County to be proactive.

 Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
 ed.) §165.41

 1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition)-Supervisory
 Liability and Municipal Liability

 1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition)-"Practice" as
 Policy

 1-8 Silver, Police Civil Liability §8.08[b][iv] (Matthew Bender revised edition)-Informal
 Policy or Custom

 1-8 Silver, Police Civil Liability §8.08[d] (Matthew Bender revised edition)-"Systemic
 Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
 question whether a municipality may be held liable for deprivation of constitutional rights caused
 by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
 uncertain whether any particular policy violated a right and, indeed, just which municipal agency
 or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
 courts have held that an employer may be sued in these situations. (internal citations omitted))

 S.M. v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
 membership resulted in significant confusion and ignorance regarding who was supervising
     Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 3 of 16 PageID #: 2425

,,

      Edwards on a day-to-day basis when he served as tracker.")

      City of Canton v. Harris, 489 U.S. 3787, 388 (1989).

      Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

      See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011):

             A municipal policy may be pronounced or tacit and reflected in either action or inaction.
             In the latter respect, a "city's policy of inaction in light of notice that its program will
             cause constitutional violations is the functional equivalent of a decision by the city itself
             to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
             (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
             (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a§ 1983
             plaintiff can establish that the facts available to city policymakers put them on
             actual or constructive notice that the particular omission is substantially certain to
             result in the violation of the constitutional rights of their citizens, the dictates of
             Monell are satisfied"). Consistent with this principle, "where a policymaking official
             exhibits deliberate indifference to constitutional deprivations caused by subordinates,
             such that the official's inaction constitutes a deliberate choice, that acquiescence may be
             properly thought of as a city policy or custom that is actionable under § 1983." Amnesty
             Am. v. Town of W. Hartford, 361F.3d113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
             quotation marks omitted).

             Deliberate indifference may be inferred where "the need for more or better supervision to
             protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
             1040, 1049 (2d Cir.1995), but the policymaker "fail[ed] to make meaningful efforts to
             address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
             Cir.2007); see also Board of Cnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
             that deliberate indifference requires proof that "municipal actor disregarded a known or
             obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
             New York, 974 F.2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
             in three parts: (1) policymaker knows "to a moral certainty" that its employees will
             confront a given situation; (2) either situation presents employees with difficult choice
             that will be made less so by training or supervision, or there is a record of employees
             mishandling situation; and (3) wrong choice by employees will frequently cause
             deprivation of constitutional rights (internal quotation marks omitted)).

             The existence of an affirmative duty to protect does not mean that any harm that befalls a
             person in state custody necessarily manifests a municipal policy of deliberate indifference
             to prisoner safety. But an affirmative duty, by its nature, implies a proactive
             responsibility to assess the risks of harm presented by given circumstances and to
             take reasonable preventive measures in advance of harm occurring, not simply to
             respond to harms only after they occur. Cf. Farmer v. Brennan, 511 U.S. 825, 845
             (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
             context "does not require a prisoner seeking a remedy for unsafe conditions to await a
             tragic event such as an actual assault before obtaining relief' (internal quotation marks
             and brackets omitted)).
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 4 of 16 PageID #: 2426



 See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
       ".o,wJ . t, L<L..----
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 5 of 16 PageID #: 2427

        11 ~it,JV
                          INSTRUCTION NO.      _IS_\=-__ Plaintiffs Alternative A
         Plaintiff Kayla Walker claims to have been injured as a result of Defendant Lincoln

 County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

 failure may be considered the official policy of Defendant Lincoln County.

         Your verdict will be for Plaintiff Kayla Walker and against Defendant Lincoln County

 only if you find that:

        First, the Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

 responsible for supervising Scott Edwards as Drug Court Tracker; and

        Second, Defendant Lincoln County's supervision of Scott Edwards as Drug Court

 Tracker was inadequate; and

         Third, the need for more supervision or different supervision was so obvious, and the

 inadequacy of the supervision so likely to create a risk of violations of constitutional rights, that

 one or more policymakers of defendant Lincoln County can reasonably be said to have been

 deliberately indifferent to the need for such supervision, and

         Fourth, the failure of defendant Lincoln County to provide proper supervision was a

 cause of damage to that plaintiff.

         If any of the above elements have not been proved by the greater weight of the evidence,

 then your verdict must be for Defendant Lincoln County, Missouri.

         The definition of "deliberate indifference" to the rights of others is the conscious or

 reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

 requires more than negligence or ordinary lack of due care.

 Tendered by Plaintiff
 Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
 Instructions Civil (6th ed.) §165.27-Failure to Train.

 In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 6 of 16 PageID #: 2428



 violation of constitutional rights", the language "so likely to create a risk of the violations of
 constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
 Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
 have known even if all of its employees in supervisory roles did not know of the risk and are thus
 not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
 may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
 396, 109 S.Ct. 1197 (O'Connor, J., concurring and dissenting) (emphasizing that "actual or
 constructive notice" is enough).

 In element fourth Plaintiffs have substituted "the cause" for the O'Malley language "a cause"
 based on O'Malley et al., Fed. Jury Prac & Instructions Civil (6th ed.) §165.27-Failure to
 Train.

 As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
 Cir. 1992):

        To establish liability under City of Canton, "the plaintiff must prove ... that the training
        program at issue is inadequate to the tasks that officers must perform; that the inadequacy
        is the result of the city's deliberate indifference; and that the inadequacy is 'closely
        related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
        (6th Cir.1989) (citing City of Canton).

 Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
 what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
 constructive notice and requiring personnel from the County to be proactive.

 Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
 ed.) §165.41

 1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition}-Supervisory
 Liability and Municipal Liability

 1-8 Silver, Police Civil Liability §8.0S[b][i] (Matthew Bender revised edition}-"Practice" as
 Policy

 1-8 Silver, Police Civil Liability §8.0S[b][iv] (Matthew Bender revised edition}-Informal
 Policy or Custom

 1-8 Silver, Police Civil Liability §8.08[ d] (Matthew Bender revised edition}-"Systemic
 Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
 question whether a municipality may be held liable for deprivation of constitutional rights caused
 by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
 uncertain whether any particular policy violated a right and, indeed, just which municipal agency
 or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
 courts have held that an employer may be sued in these situations. (internal citations omitted))

 S.M. v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
 membership resulted in significant confusion and ignorance regarding who was supervising
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 7 of 16 PageID #: 2429



 Edwards on a day-to-day basis when he served as tracker.")

 City of Canton v. Harris, 489 U.S. 3787, 388 (1989).

 Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

 See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011 ):

        A municipal policy may be pronounced or tacit and reflected in either action or inaction.
        In the latter respect, a "city's policy of inaction in light of notice that its program will
        cause constitutional violations is the functional equivalent of a decision by the city itself
        to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
        (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
        (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a§ 1983
        plaintiff can establish that the facts available to city policymakers put them on
        actual or constructive notice that the particular omission is substantially certain to
        result in the violation of the constitutional rights of their citizens, the dictates of
        Monell are satisfied"). Consistent with this principle, "where a policymaking official
        exhibits deliberate indifference to constitutional deprivations caused by subordinates,
        such that the official's inaction constitutes a deliberate choice, that acquiescence may be
        properly thought of as a city policy or custom that is actionable under§ 1983." Amnesty
        Am. v. Town of W Hartford, 361F.3d113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
        quotation marks omitted).

        Deliberate indifference may be inferred where "the need for more or better supervision to
        protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
        1040, 1049 (2d Cir.1995), but the policymaker "fail[ed] to make meaningful efforts to
        address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
        Cir.2007); see also Board of Cnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
        that deliberate indifference requires proof that "municipal actor disregarded a known or
        obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
        New York, 974 F.2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
        in three parts: (1) policymaker knows "to a moral certainty" that its employees will
        confront a given situation; (2) either situation presents employees with difficult choice
        that will be made less so by training or supervision, or there is a record of employees
        mishandling situation; and (3) wrong choice by employees will frequently cause
        deprivation of constitutional rights (internal quotation marks omitted)).

        The existence of an affirmative duty to protect does not mean that any harm that befalls a
        person in state custody necessarily manifests a municipal policy of deliberate indifference
        to prisoner safety. But an affirmative duty, by its nature, implies a proactive
        responsibility to assess the risks of harm presented by given circumstances and to
        take reasonable preventive measures in advance of harm occurring, not simply to
        respond to harms only after they occur. Cf Farmer v. Brennan, 511U.S.825, 845
        (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
        context "does not require a prisoner seeking a remedy for unsafe conditions to await a
        tragic event such as an actual assault before obtaining relief' (internal quotation marks
        and brackets omitted)).
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 8 of 16 PageID #: 2430



 See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
        D.l~ .                 ·\r tf-----
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 9 of 16 PageID #: 2431

        1"'\ ~,.l'M .....
                                                     c
                          INSTRUCTION NO. - - - - - Plaintiffs Alternative A

        Plaintiff Keirsten Sooter claims to have been injured as a result of Defendant Lincoln

 County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

 failure may be considered the official policy of Defendant Lincoln County.

        Your verdict will be for Plaintiff Keirsten Sooter and against Defendant Lincoln County

 only if you find that:

        First, the Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

 responsible for supervising Scott Edwards as Drug Court Tracker; and

        Second, Defendant Lincoln County's supervision of Scott Edwards as Drug Court

 Tracker was inadequate; and

         Third, the need for more supervision or different supervision was so obvious, and the

 inadequacy of the supervision so likely to create a risk of violations of constitutional rights, that

 one or more policymakers of defendant Lincoln County can reasonably be said to have been

 deliberately indifferent to the need for such supervision, and

        Fourth, the failure of defendant Lincoln County to provide proper supervision was a

 cause of damage to that plaintiff.

        If any of the above elements have not been proved by the greater weight of the evidence,

 then your verdict must be for Defendant Lincoln County, Missouri.

         The definition of "deliberate indifference" to the rights of others is the conscious or

 reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

 requires more than negligence or ordinary lack of due care.

 Tendered by Plaintiff
 Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
 Instructions Civil (6th ed.) §165.27-Failure to Train.

 In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 10 of 16 PageID #: 2432



 violation of constitutional rights", the language "so likely to create a risk of the violations of
 constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
 Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
 have known even if all of its employees in supervisory roles did not know of the risk and are thus
 not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
 may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
 396, 109 S.Ct. 1197 (O'Connor, J., concurring and dissenting) (emphasizing that "actual or
 constructive notice" is enough).

 In element fourth Plaintiffs have substituted "the cause" for the O'Malley language "a cause"
 based on O'Malley et al., Fed. Jury Prac & Instructions Civil (6th ed.) §165.27-Failure to
 Train.

 As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
 Cir. 1992):

        To establish liability under City of Canton, "the plaintiff must prove ... that the training
        program at issue is inadequate to the tasks that officers must perform; that the inadequacy
        is the result of the city's deliberate indifference; and that the inadequacy is 'closely
        related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
        (6th Cir.1989) (citing City of Canton).

 Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
 what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
 constructive notice and requiring personnel from the County to be proactive.

 Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
 ed.) §165.41

 1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition}-Supervisory
 Liability and Municipal Liability

 1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition}-"Practice" as
 Policy

 1-8 Silver, Police Civil Liability §8.08[b][iv] (Matthew Bender revised edition}-Informal
 Policy or Custom

 1-8 Silver, Police Civil Liability §8.08[ d] (Matthew Bender revised edition}-"Systemic
 Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
 question whether a municipality may be held liable for deprivation of constitutional rights caused
 by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
 uncertain whether any particular policy violated a right and, indeed, just which municipal agency
 or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
 courts have held that an employer may be sued in these situations. (internal citations omitted))

 S.M. v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
 membership resulted in significant confusion and ignorance regarding who was supervising
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 11 of 16 PageID #: 2433



 Edwards on a day-to-day basis when he served as tracker.")

 City of Canton v. Harris, 489 U.S. 3787, 388 (1989).

 Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

 See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011):

        A municipal policy may be pronounced or tacit and reflected in either action or inaction.
        In the latter respect, a "city's policy of inaction in light of notice that its program will
        cause constitutional violations is the functional equivalent of a decision by the city itself
        to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
        (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
        (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a§ 1983
        plaintiff can establish that the facts available to city policymakers put them on
        actual or constructive notice that the particular omission is substantially certain to
        result in the violation of the constitutional rights of their citizens, the dictates of
        Monell are satisfied"). Consistent with this principle, "where a policymaking official
        exhibits deliberate indifference to constitutional deprivations caused by subordinates,
        such that the official's inaction constitutes a deliberate choice, that acquiescence may be
        properly thought of as a city policy or custom that is actionable under § 1983." Amnesty
        Am. v. Town of W Hartford, 361F.3d113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
        quotation marks omitted).

        Deliberate indifference may be inferred where "the need for more or better supervision to
        protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
        1040, 1049 (2d Cir.1995), but the policymaker "fail[ed] to make meaningful efforts to
        address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
        Cir.2007); see also Board of Cnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
        that deliberate indifference requires proof that "municipal actor disregarded a known or
        obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
        New York, 974 F.2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
        in three parts: (1) policymaker knows "to a moral certainty" that its employees will
        confront a given situation; (2) either situation presents employees with difficult choice
        that will be made less so by training or supervision, or there is a record of employees
        mishandling situation; and (3) wrong choice by employees will frequently cause
        deprivation of constitutional rights (internal quotation marks omitted)).

        The existence of an affirmative duty to protect does not mean that any harm that befalls a
        person in state custody necessarily manifests a municipal policy of deliberate indifference
        to prisoner safety. But an affirmative duty, by its nature, implies a proactive
        responsibility to assess the risks of harm presented by given circumstances and to
        take reasonable preventive measures in advance of harm occurring, not simply to
        respond to harms only after they occur. Cf Farmer v. Brennan, 511 U.S. 825, 845
        (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
        context "does not require a prisoner seeking a remedy for unsafe conditions to await a
        tragic event such as an actual assault before obtaining relief' (internal quotation marks
        and brackets omitted)).
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 12 of 16 PageID #: 2434



 See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
                          ,~ {LV
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 13 of 16 PageID #: 2435

                 1~t--
     ~                    INSTRUCTION NO.          D           Plaintiffs Alternative A

         Plaintiff Lisa Mangold claims to have been injured as a result of Defendant Lincoln

 County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

 failure may be considered the official policy of Defendant Lincoln County.

         Your verdict will be for Plaintiff Lisa Mangold and against Defendant Lincoln County

 only if you find that:

         First, the Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

 responsible for supervising Scott Edwards as Drug Court Tracker; and

         Second, Defendant Lincoln County's supervision of Scott Edwards as Drug Court

 Tracker was inadequate; and

         Third, the need for more supervision or different supervision was so obvious, and the

  inadequacy of the supervision so likely to create a risk of violations of constitutional rights, that

 one or more policymakers of defendant Lincoln County can reasonably be said to have been

 deliberately indifferent to the need for such supervision, and

         Fourth, the failure of defendant Lincoln County to provide proper supervision was a

 cause of damage to that plaintiff.

         If any of the above elements have not been proved by the greater weight of the evidence,

  then your verdict must be for Defendant Lincoln County, Missouri.

         The definition of "deliberate indifference" to the rights of others is the conscious or

  reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

  requires more than negligence or ordinary lack of due care.

  Tendered by Plaintiff
  Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
  Instructions Civil (6th ed.) §165.27-Failure to Train.

  In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 14 of 16 PageID #: 2436



  violation of constitutional rights", the language "so likely to create a risk of the violations of
  constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
  Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
  have known even if all of its employees in supervisory roles did not know of the risk and are thus
  not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
  may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
  396, 109 S.Ct. 1197 (O'Connor, J., concurring and dissenting) (emphasizing that "actual or
  constructive notice" is enough).

  In element fourth Plaintiffs have substituted "the cause" for the O'Malley language "a cause"
  based on O'Malley et al., Fed. Jury Prac & Instructions Civil (6th ed.) §165.27-Failure to
  Train.

  As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
  Cir. 1992):

         To establish liability under City of Canton, "the plaintiff must prove ... that the training
         program at issue is inadequate to the tasks that officers must perform; that the inadequacy
         is the result of the city's deliberate indifference; and that the inadequacy is 'closely
         related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
         (6th Cir.1989) (citing City of Canton).

  Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
  what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
  constructive notice and requiring personnel from the County to be proactive.

  Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
  ed.) §165.41

  1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition}-Supervisory
  Liability and Municipal Liability

  1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition}-"Practice" as
  Policy-

  1-8 Silver, Police Civil Liability §8.08[b][iv] (Matthew Bender revised edition}-Informal
  Policy or Custom

  1-8 Silver, Police Civil Liability §8.08[d] (Matthew Bender revised edition}-"Systemic
  Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
  question whether a municipality may be held liable for deprivation of constitutional rights caused
  by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
  uncertain whether any particular policy violated a right and, indeed, just which municipal agency
  or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
  courts have held that an employer may be sued in these situations. (internal citations omitted))

  S.M. v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
  membership resulted in significant confusion and ignorance regarding who was supervising
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 15 of 16 PageID #: 2437



  Edwards on a day-to-day basis when he served as tracker.")

 City of Canton v. Harris, 489 U.S. 3787, 388 (1989).

  Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

 See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011 ):

         A municipal policy may be pronounced or tacit and reflected in either action or inaction.
         In the latter respect, a "city's policy of inaction in light of notice that its program will
         cause constitutional violations is the functional equivalent of a decision by the city itself
         to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
         (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
         (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a § 1983
         plaintiff can establish that the facts available to city policymakers put them on
         actual or constructive notice that the particular omission is substantially certain to
         result in the violation of the constitutional rights of their citizens, the dictates of
         Monell are satisfied"). Consistent with this principle, "where a policymaking official
        exhibits deliberate indifference to constitutional deprivations caused by subordinates,
        such that the official's inaction constitutes a deliberate choice, that acquiescence may be
        properly thought of as a city policy or custom that is actionable under§ 1983." Amnesty
        Am. v. Town of W Hartford, 361F.3d113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
        quotation marks omitted).

         Deliberate indifference may be inferred where "the need for more or better supervision to
         protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
         1040, 1049 (2d Cir.1995), but the policymaker "fail[ed] to make meaningful efforts to
         address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
         Cir.2007); see also Board of Cnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
         that deliberate indifference requires proof that "municipal actor disregarded a known or
         obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
         New York, 974 F.2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
         in three parts: (1) policymaker knows "to a moral certainty" that its employees will
         confront a given situation; (2) either situation presents employees with difficult choice
         that will be made less so by training or supervision, or there is a record of employees
         mishandling situation; and (3) wrong choice by employees will frequently cause
         deprivation of constitutional rights (internal quotation marks omitted)).

         The existence of an affirmative duty to protect does not mean that any harm that befalls a
         person in state custody necessarily manifests a municipal policy of deliberate indifference
         to prisoner safety. But an affirmative duty, by its nature, implies a proactive
         responsibility to assess the risks of harm presented by given circumstances and to
         take reasonable preventive measures in advance of harm occurring, not simply to
         respond to harms only after they occur. Cf Farmer v. Brennan, 511 U.S. 825, 845
         (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
         context "does not require a prisoner seeking a remedy for unsafe conditions to await a
         tragic event such as an actual assault before obtaining relief' (internal quotation marks
         and brackets omitted)).
Case: 4:12-cv-02276-PLC Doc. #: 193-1 Filed: 07/13/16 Page: 16 of 16 PageID #: 2438


 ..
 See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
